     Case: 1:17-cr-00281 Document #: 96 Filed: 06/28/19 Page 1 of 23 PageID #:1001




                   IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
                              Plaintiff,             )
                                                     )      Case No. 17 CR 281
v.                                                   )
                                                     )       Honorable Elaine Bucklo
CARLOS MEZA,                                         )
                                                     )
                              Defendant.             )


                                    NOTICE OF APPEAL

        NOW COMES Defendan-Appellant, CARLOS MEZA, by and through his attorney,

Joshua B. Kutnick, and hereby appeals from the Judgment entered on June 21, 2019 and the

sentence imposed on him following his plea of guilty in the United States District Court for the

Northern District of Illinois, Chicago, Illinois, the Honorable Judge Elaine Bucklo presiding.

This Notice has been filed within 14 days of the entry of the Judgment and Commitment in this

case.

        Defendant proceeded in forma pauperis in the Court below and thus that status continues

in this appeal. Defendant requests that new counsel be appointed to represent him in this appeal.

A Docketing Statement has been filed contemporaneously with the filing of this Notice.

                                                     Respectfully submitted,
                                                     /s/ Joshua B. Kutnick
                                                     _____________________________
                                                     Attorney for Defendant
Joshua B. Kutnick
900 W. Jackson Blvd., Suite 5W
Chicago, Illinois 60607
312/441-0211
     Case: 1:17-cr-00281 Document #: 96 Filed: 06/28/19 Page 2 of 23 PageID #:1002



                    IN THE UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
                               Plaintiff,             )
                                                      )       Case No. 17 CR 281
v.                                                    )
                                                      )       Honorable Elaine Bucklo
CARLOS MEZA,                                          )
                                                      )
                               Defendant.             )

                                  DOCKETING STATEMENT
        NOW COMES Defendant-Appellant, CARLOS MEZA, by and through his attorney,
Joshua B. Kutnick, who represented him in the proceedings before the District Court as
appointed counsel, hereby submits a docketing statement for this appeal:
1.      This is a direct appeal from a judgment, conviction, and sentence in a criminal case in the
United States District Court for the Northern District of Illinois, Chicago, IL.
2.      Following a guilty jury verdict before Judge Elaine Bucklo in the District Court below
and a finding of guilty, the Court entered a Judgment and Commitment in this case which was
filed on June 20, 2019.
3.      Counsel filed a Notice of Appeal on June 27, 2019, and thus the Notice was timely filed
within 14 days of the entry of the Judgment.
4.      This Court has jurisdiction of this appeal by 28 USC §§ 1291and 1292.
5.      Defendant was charged with and found guilty of Fraud by Wire, Radio, or Television in
violation of 18 USC § 1343(f). The District Court had jurisdiction by 18 USC § 3231.
6.      From the outset of this case, Defendant was deemed indigent and represented by
appointed counsel. That status remains unchanged and continues into this appeal.
7.      It is respectfully requested that new counsel be appointed for Defendant on appeal.
                                                      Respectfully submitted,
                                                      /s/ Joshua B. Kutnick
                                                      ____________________________
Joshua B. Kutnick
900 W. Jackson Blvd., Suite 5W
Chicago, Illinois 60607
312/441-0211
                   Case: 1:17-cr-00281 Document #: 96 Filed: 06/28/19 Page 3 of 23 PageID #:1003


                                                                                                                         €9
                                  I.INITED STATES DISTRICT COURT
                                                         Northern District of Illinois


                 UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                            v.

                         CARLOS R MEZA                                         CaseNumber:             l:17-CR-00281(1)

                                                                               USM    Number:          52312-424



                                                                               Joshua Bateman Kutnick
                                                                               Defendant's Attomey


THE DEFENDANT:
E pleaded guilty to count(s)
E pleaded nolo contendere to count(s) which was accepted by the court.
X was found guilty on count(s) Count II (wo) of the Indictment after a plea of not guilty.
The defendant is adjudicated guilty ofthese offenses:
 Title & Section / Nature of     Offense                                                             Offense Ended            Count
                                  OrTelevision
    I8:1343.F Fraud By Wire, Radio,                                                                  0813112013                     2




The defendant is sentenced as provided in pages 2 through 8 ofthis judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.

I    The defendant has been found not guilty on count(s)   I (one) of the Indictment.
EI   Count(s)      dismissed on the motion of the United States.

It is ordered that the defendant must notiSr the United States Attorney for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notiff the court and United States Attorney of material changes in economic circumstances.


                                                                                  June 13,2019
                                                                                  Date of Imposition of Judgment




                                                                                  Elaine E. Bucklo, United States District Judge
                                                                                  Name and Title of Judge

                                                                                     60
                                                                                  Date
                        Case: 1:17-cr-00281 Document #: 96 Filed: 06/28/19 Page 4 of 23 PageID #:1004
ILND 2458 (Rev. 04/19/2019 Judgment in a Criminal Case
Sheet 2   -   Imorisonment                                                                                                       Judprnent- Page 2 of8

DEFENDANT: CARLOS RMEZA
CASE NUMBER: I : l7-CR-00281(l)
                                                                   IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
NINETEEN (19) MONTHS                  as   to Count   II (two) of the Indictment.

tr            The court makes the following recommendations to the Bureau of Prisons:

tr            The defendant is remanded to the custody of the United States Marshal.

tl            The defendant shall surrender to the United States Marshal for this district:

              traton
     fI            as   notified by the United States Marshal.

     X             The defendant shall surrender for service ofsentence at the institution designated by the Bureau ofPrisons:

              X          before 2:00 pm on October 31,2019.

              tr         as   notified by the United States Marshal,

              !          as   notified by the Probation or Pretrial Services Office.




                                                                          RETURN

I have executed this judgment as follows:




 Defendant delivered          on                to                                                                  with a certified copy of this
judgment.




                                                                                            UNITED STATES MARSHAL


                                                                                       By
                                                                                            DEPUTY UNITED STATES MARSHAL
                           Case: 1:17-cr-00281 Document #: 96 Filed: 06/28/19 Page 5 of 23 PageID #:1005

ILND 245D (Rev.04/29/2019) Judgment in a Criminal Case for Revocation
Sneet:   -   Supervtsea

DEFENDANT: CARLOS R MEZA
CASE NUMBER: 1 : 1 7-CR-0028 1 (1)

             MANDATORY CONDTTTONS OF SUPERVTSED RELEASE PURSUANT TO                                                       18 U.S.C $ 3583(d)

Ugel     1.9J,e.ase
                      from imprisonment, you shall be on supervised release for    a   term of:
sHnffi,t,fp}YsARs:oa Count II (two) of the Indictment.

          You must report to the probation office in the district to which you are released withinT2 hours of release from the custody of the
Bureau of Prisons. The court imposes those conditions identified by checkmarks below:
During the period of supervised release:
 A    (1) you shall not commit another Federal, State, or local crime.
 X           (2) you shall not unlawfully possess a controlled substance.
 tr          (3) you shall attend a public, private, or private nonprofit offender rehabilitation program that has been approved     by the court,   if
                   an approved program is readily available within a 5O-mile radius of your legal residence. [Use for a fltrst conviction of a
                   domestic violence crime, as defined in $ 3561(b).1
 tr          (4)   you shall register and comply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C, $
                   16913).
 X           (5) you shallcooperate in the collection of a DNA sample if the collection of such a sample is required by law.
 tr          (6) you shall refrain from any unlawful use of a controlled substance AND submit to one drug test within 15 days of release         on
                   supervised release and at least two periodic tests thereafter, up to 104 periodic tests for use of a controlled substance during
                   each year ofsupervised release. [This mandatory condition may be ameliorated or suspended by the court for any defendant
                   if reliable sentencing information indicates a low risk of future substance abuse by the defendant.l

   DrscRETroNARy CONDTTTONS OF SUPERVTSED RELEASE PURSUANT TO                                          18 U.S.C $ 3s63(b)   AND    18 U.S.C $ 3s83(d)

Discretionary Conditions       The court orders that you abide by the following conditions during the term of supervised release because such
                                    -
conditions are reasonably related to the factors set forth in g 3553(aXl) and (aX2)G). (O. and (D): such conditions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes indicated in $ 3553 (aX2) (B). (O. and (D): and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a,
The court imposes those conditions identified by checkmarks below:

During the period ofsupervised release:
 tr (l)               you shall provide financial support to any dependents ifyou are financially able to do so.
 tr Q)                you shall make restitution to a victim of the offense under $ 3556 (but not subject to the limitation of $ 3663(a) or
                      $   3663A(cXlXA)).
 tr       (3)         you shall give to the victims of the offense notice pursuant to the provisions of $ 3555, as follows:
 a        (4)        you shall seek, and work conscientiously at, lawful employment or, if you are not gainfully employed, you shall pursue
                     conscientiously a course of study or vocational training that will equip you for employment.
 tr       (s)        you shall refrain from engaging in the following occupation, business, or profession bearing a reasonably direct relationship
                     to the conduct constituting the offense, or engage in the following specified occupation, business, or profession only to a
                     stated degree or under stated circumstances; (if checked yes, please indicate restriction(s)) ,',,',
                                                                                                                      ,




 X (6)               you shall not knowingly meet or communicate with any person whom you know to be engaged, or planning
                     to be engaged, in criminal activity and shall not:
                          trvisit the following type of places;
                          tr
                           knowingly meet or communicate with the following persons:
 tr (7)             you shall refrain from E any or E excessive use of alcohol (defined as E having a blood alcohol concentration
                    greater than 0.08; or  C        ), and from any use ofa narcotic drug or other controlled substance, as defined in $ 102
                    of the Controlled Substances    Act (21 U.S.C. $ 802), without a prescription by a licensed medical practitioner.
 X (8)              you shall not possess a firearm, destructive device, or other dangerous weapon.
                         Case: 1:17-cr-00281 Document #: 96 Filed: 06/28/19 Page 6 of 23 PageID #:1006
ILND 245D (Rev. 0412912019) Judgment in a Criminal Case for Revocation
Sheet 3  Release
          -   Supervised                                                                                                                    Judgment   -   Page 4 of 8

DEFENDANT: CARLOS R MEZA
CASE NUMBER:                   1:   I   7-CR-0028 1 (1)

 tr           (9) tr           you shall participate, at the direction of a probation officer, in a substance abuse treatment program, which may
                               include urine testing up to a maximum of 104 tests per year.
                        tr    you shall participate, at the direction of a probation officer, in a mental health treatment program, and shall take
                              any medications prescribed by the mental health treatment provider
                        E    you shall participate, at the direction of a probation officer, in medical care; (if checked yes, please speciff:
                                         ,)
          (10)       (intermittent confinement): you shall remain in the custody of the Bureau of Prisons during nights, weekends, or other
                     intervals of time,       totaling"               [no more than the lesser of one year or the term of imprisonment authorized for the
                     offense], during the first year ofthe term ofsupervised release (provided, however, that a condition set forth in
                     S3563(bXl0) shall be imposed only for a violation of a condition of supervised release in accordance with S 3583(eX2)
                     and only when facilities are available) for the following period      "


          (11)        (community confinement): you shall reside at, or participate in the program of a community corrections facility
                     (including a facility mqintqiqed or under contract to the Bureau of Prisons) for all or part of the term of supervised
                     release, for a period of ltlrrlliillilliii,,li months.
 tr       (12)        you shall work in community service       for                   hours as directed by a probation officer.
 tr       (13)        you shall reside in the following place or  area:                   , or refrain flom residing in a specified place or area:
 x        ( l4)       you shall refrain from knowingly leaving the federal judicial district where you are being supervised, unless
                     granted permission to leave by the court or a probation officer. The geographic area of the Northern District of
                     Illinois currently consists of the Illinois counties of Cook, DuPage, Grundy, Kane, Kendall, Lake, LaSalle, Will,
                     Boone, Carroll, DeKalb, Jo Daviess, Lee, McHenry, Ogle, Stephenson, Whiteside, and Winnebago.
 x (15)              you shall report to a probation officer as directed by the court or a probation offltcer.
 tr ( I 6) El you shall permit a probation officer to visit you X at any reasonable time or E as specified:                           ,

                  X at home                 X at work                  I at school               X at a community service location
                                X
                             other reasonable location specified by a probation offtcer
                           X
                         you shall permit confiscation ofany contraband observed in plain view ofthe probation officer.
 x        (17) you shall notiff a probation officer within 72 hours, after becoming aware of any change in residence, employer, or
                workplace and, absent constitutional or other legal privilege, answer inquiries by a probation officer. You shall answer
                truthfully any inquiries by a probation officer, subject to any constitutional or other legal privilege.
 x        (18) you shall notifu a probation officer within 72 hours if after being arrested, charged with a crime, or questioned by a law
                enforcement officer.
 tr       (19) (home confinement)
                    tr (a)(i) (home incarceration) for a period of_ months, you are restricted to your residence at all times except for medical
                       necessities and court appearances or other activities specifically approved by the court.
                    !  (a)(ii) (home detention) for a period of           _
                                                                       months, you are restricted to your residence at all times except for
                       employrnent; education; religious services; medical, substance abuse, or mental health treatmen| attorney visits; court
                       appearances; court-ordered obligations; or other activities pre-approved by the probation officer.
                    tr (a)(iii) (curfew) for a period of_ months, you are restricted to your residence every day.
                    tr     from the times directed by the probation officer; or E from      to _ _.
                    !      (b) your compliance with this condition, as well as other court-imposed conditions of supervision, shall be monitored
                           by a form of location monitoring technology selected at the discretion of the probation officer, and you shall abide
                           by all technology requirements.
                    tr     (c) you shall pay all or part ofthe cost ofthe location monitoring, at the daily contractual rate, ifyou are financially
                           able to do so.
          (20)      you shall comply with the terms of any court order or order of an administrative process pursuant to the law of a State, the
                    District of Columbia, or any other possession or territory of the United States, requiring payments by you for the support
                    and maintenance of a child or of a child and the parent with whom the child is living.
          (21)      (deportation): you shall be surrendered to a duly authorized official of the Homeland Security Department for a
                    determination on the issue of deportability by the appropriate authority in accordance with the laws under the Immigration
                    and Nationality Act and the established implementing regulations. If ordered deported, you shall not remain in or enter the
                    United States without obtaining, in advance, the express written consent of the United States Attorney General or the
                    United States Secretary of the Department of Homeland Security.
 x (22)             you shall satisry such other special conditions as ordered below.
                       Case: 1:17-cr-00281 Document #: 96 Filed: 06/28/19 Page 7 of 23 PageID #:1007

ILND 245D (Rev. 0412912019) Judgment in a Criminal Case for Revocation
Sheet 3  Release
          -   Suoervised                                                                                                            Judgment- Page 5 of8

DEFENDANT: CARLOS R MEZA
CASE NUMBER: I : 1 7-CR-0028 1(1)
 !            (23) You shall submit your person, property,    house, residence, vehicle, papers [computers (as defined in l8 U.S.C. 1030(e)(1)),
                    other electronic communications or data storage devices or media,] or office, to a search conducted by a United States
                    Probation Officer(s). Failure to submit to a search may be grounds for revocation of release. You shall warn any other
                    occupants that the premises may be subject to searches pursuant to this condition. An officer(s) may conduct a search
                    pursuant to this condition only when reasonable suspicion exists that you have violated a condition ofyour supervision and
                    that the areas to be searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a
                    reasonable manner.
 tr Q4)               Other:

SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C.3563(bX22) and 3583(d)
The court imposes those conditions identified by checkmarks below:

During the term of supervised release:
 tr (1) if you have not obtained a high school diploma or equivalent, you shall participate in                 a General Educational
                     Development (GED) preparation course and seek to obtain a GED within the first year of supervision.
 tr Q)               you shall participate in an approved job skill-training program at the direction of a probation officer within the first 60
                     days of placement on supervision.
 X (3)              you shall, if unemployed after the first 60 days of supervision, or if unemployed for 60 days after termination or lay-off
                    from employment, perform at least 20 hours of community service per week at the direction of the probation office until
                    gainfully employed. The total amount of community service required over your term of service shall not exceed lOb t outs.
 tr (4)              you shall not maintain employment where you have access to other individual's personal information, including, but not
                    limited to, Social Security numbers and credit card numbers (or money) unless approved by a probation officer.
 X (5)               you shall not incur new credit charges or open additional lines of credit without the approval of a probation officer
                     unless you are in compliance with the financial obligations imposed by this judgment.
 X (6)               you shall provide a probation officer with access to any requested financial information requested by the probation
                     officer to monitor compliance with conditions of supervised release.
 X (7)               within 72 hours of any significant change in your economic circumstances that might affect your ability to pay
                     restifution, frnes, or special assessments, you must notiff the probation officer of the change.
 E (8)               you shall file accurate income tax returns and pay all taxes, interest, and penalties as required by law.

 tr (9)             you shall participate in a sex offender treatment program. The specific program and provider will be determined by a
                    probation officer. You shall comply with all recommended treatment which may include psychological and physiological
                    testing. You shall maintain use of all prescribed medications.
                     tr      You shall comply with the requirements of the Computer and Internet Monitoring Program as administered by the
                             United States Probation Office. You shall consent to the installation of computer monitoring software on all
                             identified computers to which you have access and to which the probation officer has legitimate access by right or
                             consent. The software may restrict and/or record any and all activity on the computer, including the capture of
                             keystrokes, application information, Internet use history, email correspondence, and chat conversations, A notice
                             will be placed on the computer at the time of installation to warn others of the existence of the monitoring software.
                             You shall not remove, tamper with, reverse engineer, or in any way circumvent the software.
                     tr      The cost of the monitoring shall be paid by you at the monthly contractual rate, if you are financially able, subject
                             to satisfaction of other financial obligations imposed by this judgment.
                     tr      You shall not possess or use at any location (including your place of employment), any computer, external storage
                             device, or any device with access to the Internet or any online computer service without the prior approval of a
                             probation officer. This includes any Internet service provider, bulletin board system, or ar.y other public or private
                             network or email system
                     tr      You shall not possess any device that could be used for covert photography without the prior approval ofa probation
                             officer.
                     tr      You shall not view or possess child pomography. If the treatment provider determines that exposure to other
                             sexually stimulating material may be detrimental to the treatment process, or that additional conditions are likely to
                             assist the treatment process, such proposed conditions shall be promptly presented to the court, for a determination,
                             pursuant to l8 U.S.C. S 3583(e)(2), regarding whether to enlarge or otherwise modify the conditions of supervision
                            to include conditions consistent with the recommendations of the treatment provider,
                    Case: 1:17-cr-00281 Document #: 96 Filed: 06/28/19 Page 8 of 23 PageID #:1008
ILND 2458 (Rev. 04/19/2019 Judgment in a Criminal Case
Sheet 5 - Criminal Monetarv Penalties                                                          Judgment - Page 6 of 8

DEFENDANT: CARLOS R MEZA
CASE NUMBER: I : 17-CR-00281(l)

                    tr      You shall not, without the approval of a probation officer and treatment provider, engage in activities that will put you
                            in unsupervised private contact with any person under the age of 18, and you shall not knowingly visit
                             locations where persons under the age of l8 regularly congregate, including parks, schools, school bus stops,
                            playgrounds, and childcare facilities. This condition does not apply to contact in the course ofnormal
                             commercial business or unintentional incidental
                    tr      This condition does not apply to your family members: r"
                                                                                         "      "ontu"l,,,,,*,,,,,.,
                                                                                                                     fNames]
                    tr      Your employment shall be restricted to the judicial district and division where you reside or are supervised, unless
                            approval is granted by a probation officer. Prior to accepting any form of employment, you shall seek the approval of
                            a probation officer, in order to allow the probation officer the opportunity to assess the level of risk to the community
                            you will pose if employed in a particular capacity. You shall not participate in any volunteer activity that may cause
                            you to come into direct contact with children except under circumstances approved in advance by a probation offltcer
                            and treatment provider.
                    tr      You shall provide the probation officer with copies of your telephone bills, all credit card statements/receipts, and any
                            other financial information requested.
                    tr     You shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that impose
                            restrictions beyond those set forth in this order.
 X (10)             you shall pay to the Clerk of the Court any financial obligation ordered herein that remains unpaid at the
                    commencement of the term of supervised release, at a rate of not less than l0% of the total of your gross earnings
                    minus federal and state income tax withholdings.
 X     (1   1   )   you shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
                    prior permission of the court.
 tl     QZ)         you shall pay to the Clerk of the Court S,ffili]lli]lillilililil]l as repayment to the United States of  $nd_r ypg*m.._?iyed during the
                    investigation of this offense, (The Clerk of the Court shall remit the funds to                          r;itrtaniffiStrli$$.)
 X (13)             You shall observe one Reentry Court session, as instructed by your probation officer.
 tr (14) Other:
                     Case: 1:17-cr-00281 Document #: 96 Filed: 06/28/19 Page 9 of 23 PageID #:1009
ILND 2458 (Rev. 04/19/2019 Judgment in a Criminal Case
Sheet 5 - Criminal Monetarv   Penalties                                                                                             Judgment   -   Page 7 of 8

DEFENDANT: CARLOS R MEZA
CASE NUMBER: 1 : 17'CR-00281(1)
                                              CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                 Assessment         IVTA Assessment*                             tr'ine                Restitution
 TOTALS                                              $ 100.00                        $.00                         $,00                $881,s00.00



 tr     The determination of restitution is deferred     until          . An Amended Judgment in q Criminal Case 1,lo zlscl will be entered after such
        determination,
 X      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes apartial payment,   each payee shall receive an approximately proportioned payment, unless specified
        otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. $ 3664(D, all nonfederal
        victims must be paid before the United States is paid.

      Restitution of $881,500.00 to:

            C. C.
            $316,s00.00

            D. T.
            $   1s,000.00

            R. Y.
            $50,000,00

            S. S.
            $440,000.00

            T.G.
            $60,000.00

       tr            Restitution amount ordered pursuant to plea agreement $

       11            The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
                     before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $ 3612(f). All of the payment options on Sheet
                     6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. $ 3612(9).
       tr            The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                     tr             the interest requirement is waived for the

                     !              the interest requirement for   the       is modified as follows:

       tr            The defendant's non-exempt assets,   if any,   are subject to immediate execution to satisff any outstanding restitution or fine
                     obligations.

       * Justice for Victims of Trafficking Act of 2015, Pub. L. No. I l4-22.
       * Findings for the total amount of losses are required under Chapters 109A0 110, 110A, and 1l3A of Title             18 for offenses committed
       on or after September 13,7994, but before April23,1996.
                    Case: 1:17-cr-00281 Document #: 96 Filed: 06/28/19 Page 10 of 23 PageID #:1010
ILND 2458 (Rev. 04/19/2019) Judgment in a Criminal Case
Sheet 6 - Schedule of Payments                                                                                                             Judgment   -   Page 8 of 8

DEFENDANT: CARLOS R MEZA
CASE NUMBER: I :17-CR-00281(l)
                                                          SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:


        X      Lump sum payment of $100.00 due immediately.

               tr        balance due not later   than         , or

               x         balance due in accordance with       fl   C,   flD, fl   E, or   X   F below;or


       tr      Payment to begin immediately (may be combined with                 fl C, fl    D, or EI F below); or

       tr      Payment in   equal          (e.g. weekly, monthly, quarterly) installments of $                  over   a   period   of   (e.g., months or years), to
               commence                                              of this judgment; or
                                    (e.g., 30 or 60 days) after the date


       tr      Payment in   equal          (e.g. weekly, monthly, quarterly) installments of          $         over a period of         (e.g., months or years), to
               commence             (e,5., 30 or 60 days) after release   from imprisonment to       a   term of supervision; or

       tr      Payment during the term of supervised release will commence                within
                                                                                          (e.g., 30 or 60 days) after release from imprisonment.
               The court will set the payment plan based on an assessment of thedefendant's ability to pay atthattime; or

       x       Special instructions regarding the payment of criminal monetary penalties:
               Defendant shall pay any unpaid financial penalty of at leastl0% of net monthly income.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


tr     Joint and Several

Case Number                                       Total Amount                      Joint and Several              Corresponding Payee,       if
Defendant and Co-Defendant Names                                                    Amount                         Appropriate
(including defendant number)

**See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.**

tr     The defendant shall pay the cost ofprosecution.

tr     The defendant shall pay the following court cost(s):


D      The defendant shall forfeit the defendant's interest in the following properly to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court cost
CM/ECF LIVE, Ver 6.2.2 - U.S. District Court, Northern Illinois         https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?185876230649816-L_1_0-1
                    Case: 1:17-cr-00281 Document #: 96 Filed: 06/28/19 Page 11 of 23 PageID #:1011

                                                                                                     APPEAL,COX,TERMED

                                             United States District Court
                           Northern District of Illinois - CM/ECF LIVE, Ver 6.2.2 (Chicago)
                                CRIMINAL DOCKET FOR CASE #: 1:17-cr-00281-1
                                                    Internal Use Only


          Case title: USA v. Meza                                               Date Filed: 04/27/2017
                                                                                Date Terminated: 06/20/2019


          Assigned to: Honorable Elaine E. Bucklo

          Defendant (1)
          Carlos R Meza                                           represented by Joshua Bateman Kutnick
          TERMINATED: 06/20/2019                                                 Joshua B. Kutnick
                                                                                 Attorney at Law
                                                                                 900 W Jackson Blvd
                                                                                 #5
                                                                                 Chicago, IL 60607
                                                                                 (312)441-0211
                                                                                 Email: jkutnick@gmail.com
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED
                                                                                 Designation: CJA Appointment

                                                                                 Mina Stojicic Zardkoohi
                                                                                 Law Office Of Mina Zardkoohi
                                                                                 53 W. Jackson Blvd
                                                                                 Suite 1615
                                                                                 Chicago, IL 60604
                                                                                 (617) 388-2767
                                                                                 Email: mina.zardkoohi@gmail.com
                                                                                 ATTORNEY TO BE NOTICED
                                                                                 Designation: Retained

          Pending Counts                                                         Disposition
          FRAUD BY WIRE, RADIO, OR
                                                                                 The Defendant has been found not guilty
          TELEVISION
                                                                                 on count(s) 1 (one) of the Indictment.
          (2)

          Highest Offense Level (Opening)
          Felony




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          Terminated Counts                                                         Disposition
                                                                                    The Defendant was found guilty on
                                                                                    count(s) Count II (two) of the Indictment
                                                                                    after a plea of not guilty. The Defendant
                                                                                    has been found not guilty on count(s) 1
                                                                                    (one) of the Indictment. The Defendant is
                                                                                    hereby committed to the custody of the
                                                                                    United States Bureau of Prisons to be
                                                                                    imprisoned for a total term of NINETEEN
          FRAUD BY WIRE, RADIO, OR
                                                                                    (19) MONTHS as to Count II (two) of the
          TELEVISION
                                                                                    Indictment. The Defendant shall surrender
          (1)
                                                                                    for service of sentence at the institution
                                                                                    designated by the Bureau of Prisons before
                                                                                    2:00 pm on October 31, 2019. Upon
                                                                                    release from imprisonment, Defendant
                                                                                    shall be on supervised release for a term of
                                                                                    THREE (3) YEARS on Count II (two) of
                                                                                    the Indictment. Criminal Monetary
                                                                                    Penalties. Schedule of Payments

          Highest Offense Level (Terminated)
          Felony

          Complaints                                                                Disposition
          None



          Plaintiff
          USA                                                 represented by Brian R. Havey
                                                                             United States Attorney's Office (NDIL - Chicago)
                                                                             219 South Dearborn Street
                                                                             Chicago, IL 60604
                                                                             (312) 353-1857
                                                                             Email: brian.havey@usdoj.gov
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED
                                                                             Designation: Assistant US Attorney

                                                                             Melody Wells
                                                                             U.S. Attorney''s Office
                                                                             N/A
                                                                             219 South Dearborn Street
                                                                             Chicago, IL 60604
                                                                             (312) 353-1110


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                                                                   Email: melody.wells@usdoj.gov
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                   AUSA - Chicago
                                                                   United States Attorney's Office (NDIL - Chicago)
                                                                   219 South Dearborn Street
                                                                   Chicago, IL 60604
                                                                   Email: USAILN.ECFAUSA@usdoj.gov
                                                                   ATTORNEY TO BE NOTICED
                                                                   Designation: Assistant US Attorney

                                                                   Pretrial Services
                                                                   .
                                                                   (312) 435-5793
                                                                   Email:
                                                                   ilnptdb_Court_Action_Notice@ilnpt.uscourts.gov
                                                                   ATTORNEY TO BE NOTICED
                                                                   Designation: Pretrial Services

                                                                   Probation Department
                                                                   .
                                                                   408-5197
                                                                   Email: Intake_Docket_ILNP@ilnp.uscourts.gov
                                                                   ATTORNEY TO BE NOTICED
                                                                   Designation: Probation Department

                                                                   Kaitlin Grace Klamann
                                                                   United States Attorney's Office for the Northern
                                                                   Distri
                                                                   219 South Dearborn Street
                                                                   5th Floor
                                                                   Chicago, IL 60604
                                                                   (312) 353-5361
                                                                   Email: kaitlin.klamann@usdoj.gov
                                                                   ATTORNEY TO BE NOTICED

                                                                   Rick D. Young
                                                                   United States Attorney's Office (NDIL - Chicago)
                                                                   219 South Dearborn Street
                                                                   Chicago, IL 60604
                                                                   (312) 353-5300
                                                                   Email: rick.young@usdoj.gov
                                                                   ATTORNEY TO BE NOTICED

                                                                   Sunil R Harjani
                                                                   United States Attorney's Office (NDIL - Chicago)



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                                                                          219 South Dearborn Street
                                                                          Chicago, IL 60604
                                                                          (312) 353-9353
                                                                          Email: sunil.harjani@usdoj.gov
                                                                          ATTORNEY TO BE NOTICED


          Date Filed              #       Docket Text
          04/27/2017                   1 INDICTMENT as to Carlos R Meza (1) count(s) 1-2 (las, ) (Entered: 04/28/2017)
          04/27/2017                   2 (Court only) UNREDACTED (SEALED) INDICTMENT as to defendant Carlos
                                         R Meza (las, ) (Entered: 04/28/2017)
          04/27/2017                   3 DESIGNATION Sheet: FELONY (Category 3). (las, ) (Entered: 04/28/2017)
          04/27/2017                   4 MINUTE entry before the Honorable Maria Valdez as to Carlos R Meza: To set
                                         preliminary bail at $4500.00 and that the defendant be allowed to sign own
                                         recognizance bond. (las, ) (Entered: 04/28/2017)
          04/27/2017                  12 (Court only) UNREDACTED (SEALED) INDICTMENT as to defendant Carlos
                                         R Meza. (ym, ) (Entered: 05/18/2017)
          04/28/2017                   5 NOTICE of Arraignment as to Carlos R Meza before Honorable Susan E. Cox on
                                         5/3/2017 at 10:00 AM. (las, ) (Entered: 04/28/2017)
          04/28/2017                   6 FILED stamped notice of arraignment as to Carlos R Meza. (las, ) (Entered:
                                         04/28/2017)
          05/02/2017                   7 PRETRIAL Bail Report as to Carlos R Meza (SEALED) (Mudd, Seth) (Entered:
                                         05/02/2017)
          05/03/2017                   8 ORDER as to Carlos R Meza: Initial appearance and arraignment held. Defendant
                                         waived being advised of his constitutional rights. Defendant acknowledged
                                         receipt of the charging document, waived formal reading and entered a plea of
                                         not guilty to the charges. Government and Defendant agree to certain conditions
                                         of release. The following schedule provided in open court: Rule
                                         16.1(a)conference shall be conducted by 5/10/2017. Status hearing set for
                                         5/19/2017 at 10:00 a.m. before Judge Bucklo. Final deadlines for the filing of any
                                         pretrial motions and responses shall be set by the District Court. Time is excluded
                                         from 5/3/2017 to and including 5/19/2017, for preparation of pretrial motions
                                         under the ends-of-justice provision, as required by Section 3161(h)(7) and for
                                         motion under 18 USC Section 3161(7)(B)(iv) and 18 USC Section 3161(h)
                                         (1)(D). Defendant shall be released after processing. Enter Orders. Signed by the
                                         Honorable Susan E. Cox on 5/3/17. Mailed notice (las, ) (Entered: 05/04/2017)
          05/03/2017                      (Court only) ***Excludable started as to Carlos R Meza: (las, ) (Entered:
                                          05/04/2017)
          05/03/2017                   9 ORDER Setting Conditions of Release as to Carlos R Meza in amount of $ 4500,
                                         UNSECURED Bond Signed by the Honorable Susan E. Cox on 5/3/17.Mailed
                                         notice (las, ) (Entered: 05/04/2017)



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          05/03/2017                 10 UNSECURED Bond as to Carlos R Meza in the amount of $4500. (las, )
                                        (Entered: 05/04/2017)
          05/18/2017                 11 NOTICE of Correction regarding unredacted(sealed)indictment 2 as to Carlos R
                                        Meza. (ym, ) (Entered: 05/18/2017)
          05/19/2017                 13 MINUTE entry before the Honorable Elaine E. Bucklo: Status hearing held on
                                        5/19/2017 and continued to 7/6/2017 at 10:00 a.m. The Court finds the interest of
                                        justice would best be served by excluding time from 5/19/2017 to and including
                                        7/6/2017 pursuant to 18:3161(h)(7)(A)(B). Mailed notice. (mgh, ) (Entered:
                                        05/19/2017)
          07/06/2017                 14 MINUTE entry before the Honorable Elaine E. Bucklo: Status hearing held on
                                        7/6/2017 and continued to 8/11/2017 at 10:00 a.m. The Court finds the interest of
                                        justice would best be served by excluding time from 7/6/2017 to and including
                                        8/11/2017 pursuant to 18:3161(h)(7)(A)(B). Mailed notice. (mgh, ) (Entered:
                                        07/07/2017)
          07/20/2017                 15 (Court only) PRETRIAL Violation Report as to Carlos R Meza (SEALED) (jw, )
                                        (Entered: 07/20/2017)
          08/11/2017                 16 MINUTE entry before the Honorable Elaine E. Bucklo: Status hearing held on
                                        8/11/2017 and continued to 8/31/2017 at 10:00 a.m. The Court finds the interest
                                        of justice would best be served by excluding time from 8/11/2017 to and
                                        including 8/31/2017 pursuant to 18:3161(h)(7)(A)(B). Mailed notice. (mgh, )
                                        (Entered: 08/11/2017)
          08/31/2017                 17 ORDER as to Carlos R Meza (1): Status hearing held on 8/31/2017 and continued
                                        to 10/13/2017 at 10:00 a.m. Enter Order appointing Joshua B. Kutnick of the
                                        Federal Defender Panel as counsel for defendant. The Court finds the interest of
                                        justice would best be served by excluding time from 8/31/2017 to and including
                                        10/13/2017 pursuant to 18:3161(h)(7)(A)(B). Signed by the Honorable Elaine E.
                                        Bucklo on 8/31/2017. Mailed notice (yap, ) (Entered: 09/01/2017)
          08/31/2017                 18 CJA ORDER Appointing Counsel Joshua B. Kutnick Under the Criminal Justice
                                        Act as to Carlos R Meza. Signed by the Honorable Elaine E. Bucklo on
                                        8/31/2017. (yap, ) (Entered: 09/01/2017)
          08/31/2017                 19 ATTORNEY Appearance for defendant Carlos R Meza by Joshua Bateman
                                        Kutnick. (yap, ) (Entered: 09/01/2017)
          08/31/2017                 20 FINANCIAL Affidavit filed by Carlos R Meza (SEALED). (yap, ) (Entered:
                                        09/01/2017)
          09/01/2017                 24 CJA ORDER Appointing Counsel Joshua B. Kutnick for Defendant Carlos Meza
                                        Under the Criminal Justice Act. Signed by the Honorable Elaine E. Bucklo on
                                        9/1/2017. Mailed notice (mc, ) (Entered: 12/14/2017)
          10/13/2017                 21 MINUTE entry before the Honorable Elaine E. Bucklo: Status hearing held on
                                        10/13/2017 and continued to 10/19/2017 at 10:00 a.m. The Court finds the
                                        interest of justice would best be served by excluding time from 10/13/2017 to and
                                        including 10/19/2017 pursuant to 18:3161(h)(7)(A)(B). Mailed notice. (mgh, )



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                                          (Entered: 10/13/2017)
          10/19/2017                 22 MINUTE entry before the Honorable Elaine E. Bucklo, as to Carlos R Meza:
                                        Status hearing held on 10/19/2017 and continued to 12/7/2017 at 10:00 a.m. The
                                        Court finds the interest of justice would best be served by excluding time from
                                        10/19/2017 to and including 12/7/2017 pursuant to 18:3161(h)(7)(A)(B). Mailed
                                        notice. (mgh, ) (Entered: 10/19/2017)
          12/07/2017                 23 MINUTE entry before the Honorable Elaine E. Bucklo: Status hearing held on
                                        12/7/2017 and continued to 1/19/2018 at 10:00 a.m. The Court finds the interest
                                        of justice would best be served by excluding time from 12/7/2017 to and
                                        including 1/19/2018 pursuant to 18:3161(h)(7)(A)(B). Mailed notice. (mgh, )
                                        (Entered: 12/08/2017)
          01/19/2018                 25 MINUTE entry before the Honorable Elaine E. Bucklo: Status hearing held on
                                        1/19/2018. Jury trial set for 7/23/2018 at 9:00 a.m. Status hearing set for
                                        5/10/2018 at 10:00 a.m. to set pretrial conference. In the interest of justice, the
                                        period beginning 1/19/2018 through 723/2018 is excluded without objection
                                        pursuant to 18.3161(h)(7)(B)(iv) for trial preparation. Mailed notice. (mgh, )
                                        (Entered: 01/19/2018)
          05/09/2018                 26 MOTION by Carlos R Meza for attorney representation appointment of
                                        additional counsel (Kutnick, Joshua) (Entered: 05/09/2018)
          05/09/2018                 27 MOTION by Carlos R Meza Appoint Forensic Accountant (Kutnick, Joshua)
                                        (Entered: 05/09/2018)
          05/10/2018                 28 MINUTE entry before the Honorable Elaine E. Bucklo: Status hearing held on
                                        5/10/2018.The joint pretrial order, proposed voir dire, agreed jury instructions,
                                        agreed statement of the case, witness and exhibit lists shall be filed by 7/12/2018.
                                        Motions in limine with supporting memoranda due by 7/3/2018. Responses to
                                        any motions in limine due by 7/10/2018. Pretrial Conference set for 7/16/2018 at
                                        1:00 p.m. Jury trial set for 7/23/2018 at 9:00 a.m. to stand. Defendant's motion for
                                        appointment of a forensic accountant 27 is entered and continued, pending the
                                        forensic accountant's proposed cost report due by 5/18/2018. Courtesy copy to be
                                        delivered to chambers, room 2246. Mailed notice. (mgh, ) (Entered: 05/11/2018)
          05/14/2018                 29 ATTORNEY Appearance for USA bySunil R Harjani (Harjani, Sunil) (Entered:
                                        05/14/2018)
          05/18/2018                 30 STATUS REPORT regarding Forensic Accountant by Carlos R Meza (Kutnick,
                                        Joshua) (Entered: 05/18/2018)
          05/25/2018                 31 MINUTE entry before the Honorable Elaine E. Bucklo as to Carlos R Meza:
                                        Defendant has filed a status report regarding (apparently) two possible forensic
                                        experts. A defendant seeking payment out of CJA funds for an expert must obtain
                                        prior approval by the Chief Judge of the Circuit if the cost is to exceed $2400 and
                                        approval by the district court for an expert whose cost is lower than this amount.
                                        18 U.S.C. sec. 3006A(e)(B)(3). I must also determine that a defendant is
                                        financially unable to pay the requested amount. Defendant has not, at this point,
                                        satisfied either of these requirements. The status report does not provide the



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                                          information necessary to determine what amount will be charged by the expert.
                                          Further, defendant needs to provide an updated financial affidavit if he seeks CJA
                                          funds. From my review of the financial affidavit filed by defendant in 2017, it is
                                          not clear that he cannot pay some or all of the requested expert fees. Defendant's
                                          motion for the appointment of a second attorney 26 is denied. Mailed notice (np, )
                                          (Entered: 05/25/2018)
          05/29/2018                 32 MOTION by Carlos R Meza to continue trial date (Kutnick, Joshua) (Entered:
                                        05/29/2018)
          05/29/2018                 33 NOTICE of Motion by Joshua Bateman Kutnick for presentment of motion to
                                        continue 32 before Honorable Elaine E. Bucklo on 6/1/2018 at 09:30 AM.
                                        (Kutnick, Joshua) (Entered: 05/29/2018)
          05/30/2018                 34 MINUTE entry before the Honorable Elaine E. Bucklo: Motion to continue trial
                                        date 32 set for 6/1/2018 at 9:30 a.m. is stricken and reset to 6/6/2018 at 09:30
                                        AM. Mailed notice (np, ) (Entered: 05/30/2018)
          06/05/2018                 35 NOTICE of Motion by Joshua Bateman Kutnick for presentment of motion to
                                        continue 32 before Honorable Elaine E. Bucklo on 6/8/2018 at 09:30 AM.
                                        (Kutnick, Joshua) (Entered: 06/05/2018)
          06/08/2018                 36 MINUTE entry before the Honorable Elaine E. Bucklo, as to Carlos R Meza (1):
                                        Motion hearing held on 6/8/2018. Defendant's motion to continue trial date 32 is
                                        granted. Jury trial previously set for 7/23/2018 is stricken and reset for 12/3/2018
                                        at 9:00 a.m. (3 day trial). The joint pretrial order, proposed voir dire, agreed jury
                                        instructions, agreed statement of the case, witness and exhibit lists shall be filed
                                        by 11/15/2018. Motions in limine with supporting memoranda due by 11/2/2018.
                                        Responses to any motions in limine due by 11/12/2018. Pretrial Conference set
                                        for 11/19/2018 at 1:30 p.m. In the interest of justice, the period beginning
                                        7/23/2018 through 12/3/2018 is excluded without objection pursuant to
                                        18.3161(h)(7)(B)(iv) for trial preparation. Mailed notice. (mgh, ) (Entered:
                                        06/11/2018)
          07/17/2018                 37 ATTORNEY Designation for USA of Melody Wells (Wells, Melody) (Entered:
                                        07/17/2018)
          10/19/2018                 38 ATTORNEY Designation for USA of Rick D. Young (Young, Rick) (Entered:
                                        10/19/2018)
          10/23/2018                 39 ATTORNEY Designation for USA of Kaitlin Grace Klamann (Klamann, Kaitlin)
                                        (Entered: 10/23/2018)
          11/02/2018                 40 MOTION by USA in limine as to Carlos R Meza (To Admit Evidence Pursuant to
                                        Rules 803(6) and 902(11)) (Young, Rick) (Entered: 11/02/2018)
          11/02/2018                 41 MOTION by USA in limine as to Carlos R Meza (To Exclude Argument and
                                        Evidence) (Young, Rick) (Entered: 11/02/2018)
          11/02/2018                 42 MOTION by Carlos R Meza to continue trial date (Attachments: # 1 Exhibit
                                        Hodapp email)(Kutnick, Joshua) (Entered: 11/02/2018)




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          11/02/2018                 43 MOTION by Carlos R Meza for extension of time to file motions in limine
                                        (Kutnick, Joshua) (Entered: 11/02/2018)
          11/03/2018                 44 NOTICE of Motion by Joshua Bateman Kutnick for presentment of motion for
                                        extension of time 43 before Honorable Elaine E. Bucklo on 11/7/2018 at 09:30
                                        AM. (Kutnick, Joshua) (Entered: 11/03/2018)
          11/03/2018                 45 NOTICE of Motion by Joshua Bateman Kutnick for presentment of motion to
                                        continue 42 before Honorable Elaine E. Bucklo on 11/7/2018 at 09:30 AM.
                                        (Kutnick, Joshua) (Entered: 11/03/2018)
          11/07/2018                 46 MINUTE entry before the Honorable Elaine E. Bucklo, as to Carlos R Meza (1):
                                        Motion hearing held on 11/7/2018. Defendant's motion to continue trial date 42 is
                                        denied. Defendant's motion for extension of time to file motions in limine 43 is
                                        granted. Pretrial Conference set for 11/19/2018 at 1:30 p.m. and Jury trial (3 day)
                                        set for 12/3/2018 at 9:00 a.m. to stand. Mailed notice. (mgh, ) (Entered:
                                        11/08/2018)
          11/15/2018                 47 SUPPLEMENT by USA to Government's motion in limine regarding evidence
                                        offered pursuant to Federal Rules of Evidence 803(6) and 902(11) 40 as to Carlos
                                        R. Meza (Young, Rick) (Docket Text Modified by Clerks Office) (ew, ). (Entered:
                                        11/15/2018)
          11/15/2018                 48 PROPOSED Jury Instructions by USA as to Carlos R Meza (Young, Rick)
                                        (Entered: 11/15/2018)
          11/15/2018                 49 Agreed Statement of the Case by USA as to Carlos R Meza (Young, Rick)
                                        (Entered: 11/15/2018)
          11/15/2018                 50 WITNESS List by USA as to Carlos R Meza (Young, Rick) (Entered:
                                        11/15/2018)
          11/15/2018                 51 EXHIBIT List by USA as to Carlos R Meza (Young, Rick) (Entered: 11/15/2018)
          11/15/2018                 52 PROPOSED Voir Dire by USA as to Carlos R Meza (Young, Rick) (Entered:
                                        11/15/2018)
          11/15/2018                 53 MINUTE entry before the Honorable Elaine E. Bucklo: Pretrial Conference set
                                        for 11/19/2018 is reset for 2:00 p.m. (TIME CHANGE ONLY) Mailed notice.
                                        (mgh, ) (Entered: 11/15/2018)
          11/15/2018                 54 MOTION by Carlos R Meza for extension of time to file witness and exhibit lists
                                        (Kutnick, Joshua) (Entered: 11/15/2018)
          11/16/2018                      (Court only) ***Motions terminated as to Carlos R Meza: 47 MOTION by USA
                                          to supplement as to Carlos R Meza MOTION by USA in limine as to Carlos R
                                          Meza (To Admit Evidence Pursuant to Rules 803(6) and 902(11)) 40 filed by
                                          USA. (ew, ) (Entered: 11/16/2018)
          11/16/2018                 55 ATTORNEY Appearance for defendant Carlos R Meza by Mina Stojicic
                                        Zardkoohi (Zardkoohi, Mina) (Entered: 11/16/2018)
          11/18/2018                 56 MOTION by Carlos R Meza in limine (Kutnick, Joshua) (Entered: 11/18/2018)



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          11/19/2018                 57 MINUTE entry before the Honorable Elaine E. Bucklo: Pretrial conference held
                                        on 11/19/2018. Mailed notice. (mgh, ) (Entered: 11/20/2018)
          11/21/2018                 58 EXHIBIT List by Carlos R Meza (Attachments: # 1 Exhibit Trial Exhibits
                                        1-19)(Kutnick, Joshua) (Entered: 11/21/2018)
          12/01/2018                 59 EXHIBIT List by Carlos R Meza (Attachments: # 1 Supplement Exhibits)
                                        (Zardkoohi, Mina) (Entered: 12/01/2018)
          12/03/2018                 60 ORDER as to Carlos R Meza: Voir dire held and concluded. Jury trial held and
                                        continued to Tuesday December 4, 2018 at 8:45 a.m. Signed by the Honorable
                                        Elaine E. Bucklo on 12/3/2018. Mailed notice. (ew, ) (Entered: 12/04/2018)
          12/04/2018                 61 MINUTE entry before the Honorable Elaine E. Bucklo: Jury trial held on
                                        12/4/2018. Jury Trial continued to 12/6/2018 at 8:15 a.m. in courtroom #1725.
                                        Mailed notice. (mgh,) Modified on 12/6/2018 (mgh, ). (Entered: 12/04/2018)
          12/06/2018                 62 ORDER as to Carlos R Meza: Jury trial held and concluded on 12/6/2018. Jury
                                        deliberation held and concluded on 12/6/2018. The jury found Defendant, Carlos
                                        R. Meza not guilty on Count I and guilty on Count II of the Indictment. The case
                                        is referred to the Probation Department for a completion of a presentence
                                        investigation report. The Court directs the Probation Office to disclose the
                                        sentencing recommendation to both the government and defense counsel.
                                        Sentencing set for 2/28/2019 at 10:30 a.m. Defendant's sentencing memorandum
                                        and objections to PSR shall be filed by 2/14/2019; Government's response due by
                                        2/21/2019 pending sentencing subject to the previously ordered conditions of
                                        release. Pursuant to 18 U.S.C. § 3664(d)(1), if restitution is being sought in this
                                        case, 60 days prior to the sentencing date, the Government shall provide the
                                        Probation Office and the courtroom deputy an electronic standardized spreadsheet
                                        (available on the Court's website) with a list of victims and their full current
                                        contact information. This list shall include any amounts subject to restitution. If
                                        the Government is not able to provide the full victim list 60 days prior to
                                        sentencing, they shall file a motion to request an extension of time to compile the
                                        information, to the extent permitted by 18 U.S.C. § 3664(d)(5). Signed by the
                                        Honorable Elaine E. Bucklo on 12/6/2018. Mailed notice. (ew, ) (Entered:
                                        12/07/2018)
          12/06/2018                 63 JURY Instructions as to Carlos R Meza. (ew, ) (Entered: 12/07/2018)
          12/06/2018                 64 JURY INDICTMENT as to Carlos R Meza. (ew, ) (Entered: 12/07/2018)
          12/06/2018                 65 JURY Notes as to Carlos R Meza. (ew, ) (Entered: 12/07/2018)
          12/06/2018                 66 JURY Notes as to Carlos R Meza. (ew, ) (Entered: 12/07/2018)
          12/06/2018                 67 JURY Verdict as to Carlos R Meza (1) guilty on Count 2, not guilty on Count 1.
                                        Verdict form emailed to defendant's counsel of record. (RESTRICTED) (ew, )
                                        (Entered: 12/07/2018)
          12/11/2018                 68 MOTION by Carlos R Meza for extension of time to fie Post Trial Motion
                                        (Kutnick, Joshua) (Entered: 12/11/2018)




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           12/12/2018                69 NOTICE of Motion by Joshua Bateman Kutnick for presentment of motion for
                                        extension of time 68 before Honorable Elaine E. Bucklo on 12/21/2018 at 09:30
                                        AM. (Kutnick, Joshua) (Entered: 12/12/2018)
           12/21/2018                70 MINUTE entry before the Honorable Elaine E. Bucklo, as to Carlos R Meza (1):
                                        Motion hearing held on 12/21/2018. Unopposed motion for extension of time to
                                        file post trial motion 68 is granted to 2/8/2019. Mailed notice. (mgh, ) (Entered:
                                        12/21/2018)
           01/14/2019                71 MOTION by Carlos R Meza to continue Sentencing Hearing (Kutnick, Joshua)
                                        (Entered: 01/14/2019)
           01/14/2019                72 NOTICE of Motion by Joshua Bateman Kutnick for presentment of (Kutnick,
                                        Joshua) (Entered: 01/14/2019)
           01/16/2019                73 MINUTE entry before the Honorable Elaine E. Bucklo, as to Carlos R Meza (1):
                                        Defendant's unopposed motion to continue sentencing 71 is granted. Sentencing
                                        previously set for 2/28/2019 is reset for 4/1/2019 at 10:30 a.m. Sentencing
                                        memorandum and objections to PSR to be filed by 3/18/2019. Responses to be
                                        filed by 3/25/2019. No appearance required on 1/24/2019. Mailed notice. (mgh, )
                                        (Entered: 01/16/2019)
           01/18/2019                74 TRANSCRIPT OF PROCEEDINGS as to Carlos R Meza held on 12-3-18, before
                                        the Honorable Elaine E. Bucklo. Volume 1. Order Number: 33193. Court
                                        Reporter Contact Information: Sandra M. Mullin,
                                        Sandra_Mullin@ilnd.uscourts.gov, 312-554-8244.

                                          IMPORTANT: The transcript may be viewed at the court's public terminal or
                                          purchased through the Court Reporter/Transcriber before the deadline for Release
                                          of Transcript Restriction. After that date it may be obtained through the Court
                                          Reporter/Transcriber or PACER. For further information on the redaction process,
                                          see the Court's web site at www.ilnd.uscourts.gov under Quick Links select
                                          Policy Regarding the Availability of Transcripts of Court Proceedings.

                                          Redaction Request due 2/8/2019. Redacted Transcript Deadline set for 2/19/2019.
                                          Release of Transcript Restriction set for 4/18/2019. (Mullin, Sandra) (Entered:
                                          01/18/2019)
           01/18/2019                75 TRANSCRIPT OF PROCEEDINGS as to Carlos R Meza held on 12-4-18, before
                                        the Honorable Elaine E. Bucklo. Volume 2. Order Number: 33193. Court
                                        Reporter Contact Information: Sandra M. Mullin,
                                        Sandra_Mullin@ilnd.uscourts.gov, 312-554-8244.

                                          IMPORTANT: The transcript may be viewed at the court's public terminal or
                                          purchased through the Court Reporter/Transcriber before the deadline for Release
                                          of Transcript Restriction. After that date it may be obtained through the Court
                                          Reporter/Transcriber or PACER. For further information on the redaction process,
                                          see the Court's web site at www.ilnd.uscourts.gov under Quick Links select
                                          Policy Regarding the Availability of Transcripts of Court Proceedings.

                                          Redaction Request due 2/8/2019. Redacted Transcript Deadline set for 2/19/2019.


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                                          Release of Transcript Restriction set for 4/18/2019. (Mullin, Sandra) (Entered:
                                          01/18/2019)
           01/18/2019                76 TRANSCRIPT OF PROCEEDINGS as to Carlos R Meza held on 12-6-18, before
                                        the Honorable Elaine E. Bucklo. Volume 3. Order Number: 33193. Court
                                        Reporter Contact Information: Sandra M. Mullin,
                                        Sandra_Mullin@ilnd.uscourts.gov, 312-554-8244.

                                          IMPORTANT: The transcript may be viewed at the court's public terminal or
                                          purchased through the Court Reporter/Transcriber before the deadline for Release
                                          of Transcript Restriction. After that date it may be obtained through the Court
                                          Reporter/Transcriber or PACER. For further information on the redaction process,
                                          see the Court's web site at www.ilnd.uscourts.gov under Quick Links select
                                          Policy Regarding the Availability of Transcripts of Court Proceedings.

                                          Redaction Request due 2/8/2019. Redacted Transcript Deadline set for 2/19/2019.
                                          Release of Transcript Restriction set for 4/18/2019. (Mullin, Sandra) (Entered:
                                          01/18/2019)
           01/18/2019                77 LETTER from Linda George. (bg, ) (Entered: 01/25/2019)
           02/25/2019                78 (Court only) SENTENCING Recommendation as to Carlos R Meza (SEALED)
                                        (Mosley, Crystal) (Entered: 02/25/2019)
           02/25/2019                79 PRESENTENCE Investigation Report as to Carlos R Meza (SEALED) (Mosley,
                                        Crystal) (Entered: 02/25/2019)
           02/25/2019                80 PRESENTENCE Investigation Report as to Carlos R Meza (SEALED) (Mosley,
                                        Crystal) (Entered: 02/25/2019)
           03/18/2019                81 SENTENCING MEMORANDUM as to Carlos R Meza (Attachments: # 1
                                        Exhibit Renaissance Chart, # 2 Exhibit Barnes/Carso Chart, # 3 Exhibit Govt.
                                        Trial Exhibits SC-1-4)(Kutnick, Joshua) (Entered: 03/18/2019)
           03/25/2019                82 PRESENTENCE Investigation Report (Supplemental) as to Carlos R Meza
                                        (SEALED) (Tsinoukas, Angelo) (Entered: 03/25/2019)
           03/25/2019                83 SENTENCING MEMORANDUM as to Carlos R Meza (Attachments: # 1
                                        Exhibit A through D)(Young, Rick) (Entered: 03/25/2019)
           03/27/2019                84 MOTION by Carlos R Meza to continue Sentencing Hearing (Kutnick, Joshua)
                                        (Entered: 03/27/2019)
           03/27/2019                85 NOTICE of Motion by Joshua Bateman Kutnick for presentment of motion to
                                        continue 84 before Honorable Elaine E. Bucklo on 4/1/2019 at 09:30 AM.
                                        (Kutnick, Joshua) (Entered: 03/27/2019)
           03/28/2019                86 MINUTE entry before the Honorable Elaine E. Bucklo, as to Carlos R Meza (1):
                                        Defendant's unopposed motion to continue sentencing hearing 84 is granted.
                                        Sentencing previously set for 4/1/2019 is stricken and reset for 5/1/2019 at 10:30
                                        a.m. No appearance required on 4/1/2019. Mailed notice. (mgh, ) (Entered:
                                        03/28/2019)



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           04/29/2019                87 MINUTE entry before the Honorable Elaine E. Bucklo: On the court's own
                                        motion, Sentencing previously set for 5/1/2019 is stricken and reset for 6/13/2019
                                        at 10:30 a.m. No appearance required on 5/1/2019. Mailed notice. (mgh, )
                                        (Entered: 04/29/2019)
           04/29/2019                88 PRESENTENCE Investigation Report (Supplemental) as to Carlos R Meza
                                        (SEALED) (Fitzgerald, Josie) (Entered: 04/29/2019)
           06/07/2019                89 LETTER from Various dated 2019 in Support of Carlos Meza. (Kutnick, Joshua)
                                        (Entered: 06/07/2019)
           06/13/2019                90 MINUTE entry before the Honorable Elaine E. Bucklo, as to Carlos R Meza:
                                        Sentencing held on 6/13/2019. Judgment to follow. Mailed notice. (mgh, )
                                        (Entered: 06/13/2019)
           06/13/2019                     (Court only) ***Procedural Interval start (P6) Count 2 as to Carlos R Meza. (jh, )
                                          (Entered: 06/21/2019)
           06/20/2019                91 JUDGMENT (Sentencing Order) as to Carlos R Meza (1), Count(s) 1, The
                                        Defendant was found guilty on count(s) Count II (two) of the Indictment after a
                                        plea of not guilty. The Defendant has been found not guilty on count(s) 1 (one) of
                                        the Indictment. The Defendant is hereby committed to the custody of the United
                                        States Bureau of Prisons to be imprisoned for a total term of NINETEEN (19)
                                        MONTHS as to Count II (two) of the Indictment. The Defendant shall surrender
                                        for service of sentence at the institution designated by the Bureau of Prisons
                                        before 2:00 pm on October 31, 2019. Upon release from imprisonment,
                                        Defendant shall be on supervised release for a term of THREE (3) YEARS on
                                        Count II (two) of the Indictment. Criminal Monetary Penalties. Schedule of
                                        Payments; Count(s) 2, The Defendant has been found not guilty on count(s) 1
                                        (one) of the Indictment., (Terminated defendant Carlos R Meza). Signed by the
                                        Honorable Elaine E. Bucklo on 6/20/2019. Mailed certified copy to defendant
                                        Carlos R Meza's counsel of record Joshua Bateman Kutnick. Mailed notice (jh, )
                                        (Entered: 06/21/2019)
           06/20/2019                92 STATEMENT of Reasons as to Carlos R Meza. (SEALED) Mailed certified copy
                                        to defendant Carlos R Meza's counsel of record Joshua Bateman Kutnick. (jh, )
                                        (Entered: 06/21/2019)
           06/21/2019                     JUDGMENT and Commitment as to Carlos R Meza issued to U.S. Marshal via
                                          e-mail in PDF format. (jh, ) (Entered: 06/21/2019)
           06/21/2019                     FORWARDED certified copy of Judgment (Sentencing Order) with Statement of
                                          Reasons to the Docketing Department of the U.S. Attorney's Office and the U.S.
                                          District Court's Fiscal Department as to Carlos R Meza. (jh, ) (Entered:
                                          06/21/2019)
           06/27/2019                93 NOTICE OF APPEAL by Carlos R Meza Receipt number: y (Kutnick, Joshua)
                                        (Entered: 06/27/2019)
           06/27/2019                94 DOCKETING statement by Carlos R Meza regarding notice of appeal 93
                                        (Kutnick, Joshua) (Entered: 06/27/2019)




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           06/28/2019                95 NOTICE of Appeal Due letter sent to counsel of record regarding notice of
                                        appeal 93 . (bg, ) (Entered: 06/28/2019)




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